Case 2:19-cv-04891-SRC-CLW Document 57-1 Filed 09/29/20 Page 1 of 3 PagelD: 193

EXHIBIT A

 
 

 

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TATE FILE NUMBER
NEW JERSEY DEPARTMENT OF HEALTH Li

CERTIFICATE OF DEATH 20200006486
1a. Lega! Name of Decedent (First, Middle, Last, Suffix)

MOHAMED ELALEM ONLY
1b. Aluo Known As (AKA), If Any (First, Middle, Last, Sufix) O
2. Sox 3. Social Securily Number da. Age 5. Date of Birth (MaDay/V¥r)

Male | 1925 34 Years | i 905
6, Birthplace (City & State/Foreign Country)

Brooklyn, Now York
7a, Residence-Stete 7b, County Te. Municipality/City

Now Jersey Middlesex Carteret Borough
7d. Street and Number Ta, Apt No. Tf. Zip Code 7g. Inside City Limits?

144 High Street 07008 Yos
Ba. Ever in US Armed Forces? oo I Yes, Name of War: j= War Service Dates (From/To):

You
‘8. Domestic Slatua at Timo of Death | 10, Nama of Surviving Spouse/Partner (Name given al birth or on birth certificate)

Divorced
17, Fathers Name (First, Middle, Las)

Mamdouh Elalem
12. Mothers Namo Prior to Firat Maniage (First, Midale, Last)

Azza Elalom
73a. Name of Informant 13b. Relationship to Decedent

Islam Elalom Sibling
‘V3¢. Mailing Address (Stree! and Number, City, State, Zip Cade)

144 High Street, Carteret, NJ 07008
14. Method of Disposiilon 15, Place of Disposition (name of cemetery, crematory, other) 16. Location- City & State/Forelgn Country

 

Burial Mariboro Muslim Memorial Wariboro Township, New Jersey

 

 

17. Name end Complete Address of Funeral Facility
Musiim Funeral Services of NY, 6121 2nd Ave, Brooklyn NY 11232

18. Electronic Signature of Funeral Director

 

19. NJ License Number

 

 

 

 

 

Christine Ann Cuoco 23JP00453800
20. Becedent Education 21. Decedent of Hispanic Origin? 22, Decedent Race

Bachelor's degree (BA, AB, BS) Not Spanieh / Hispanic / Latino Other Race: Egyptian
23, Occupation of Decedent (Type of work done most of He, even if retired) 24, Kind of Businesa/industry

Engineer Engineering

 

25. Name and Address of Last Employer

Picatinny Arsenal, US Military Dept. of Defense, 213 NJ-16, Wharton, NJ 07885

 

 

 

26. Date Pronounced Dead (Ma/DayYi) 28. Name of Person Pronouncing Death
02/02/2020 -
ae wi Pronounced Dead (24-f7} [2 Ucense Number 30. Date Signed (MaDey/Yr)

 

31. Date of Death (Ma/DeywVn 32. Time of Death (24-h7) 33. Was Medical Examiner Contacted? 34, Place of Death

 

 

 

 

 

02/02/2020 Approx-1142 Yes Decedent's Home
35a. Facility Name (if not institution, give street and number)
144 High Street
35b, Municipality 35c, County
h Middlesex

 

 

. | 968, PART | - IMMEDIATE CAUSE - final disease or condition reaulting In death. Subsequently lial conditions, If any, leading to
CAUSE OF DEATH: | 1.6 cause Neted on Line a. Enter the UNDERLYING CAUSE (disease of Injury that initiated the events resulting in death) LAST.

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Immediate Cause Interval Between Onset and Death
unknown
Due to (or as a consequence of):
Due to (or as a consequence of
Ous to (or a5 a consequence of):
386. PART II - Enter other significant conditions contribuling to death but not resulting in | 97, Wan an Autopsy Performed?
Cause given in PART I. Religious Objection
38. Were Autopsy Findings Available to Complete Cause of
Death?
Not Applicable
39, Date of Injury (MoDay/¥n i Time of Injury (24-h) 141. Place of Injury (e.g. home, construction site, restaurand t= Injury at work?
480. Location of injury (Number and Street, Z/p Code) 43b. Municipality 43c. County 43d, State
44, Describe How injury Occurred 45, If Transportation Injury:
46, Manner of Death 47. Did Decedent | 48. Did Tobacco Use | 49. If Female, Pregnancy State

 

_Pending Investigation Unknown Unknown Not applicable

 

Have Diabetes? | Contribute to Death?

 

 

 

 

 

60. Cortifier Type 51. Name, Address, and Zip Code of Certifier
Allison Mautone, M.0.
Marinel Examiner 1490 Livingston Ave,, North Brunswick, Nuj 08902
62. Electronic Signature of Certifer §3. License Number 54. Date Certified (Ma/Day/Y7
a 26MA09868000 02/02/2020
65. Electronic Signature of Local Registrar 56. District No. 57. Date Received =| Case if Number

 

 

Nellie Sowell V1245 02/03/2020 24 R4A70

 
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300. PART i - Enter other significant conditions contributing to death bul not resulting in | 37. Waa an Autopsy Performed?
inderiying cause given in PART I. Religious Objection
38. Were Autopsy Findings Available to Complete Cause of
Death?

bs Not Applicable

39, Date of injury (Mo/Day/¥j|40. Time of Injury (24-h7) | 41. Place of Injury (e.g. home. construction site, restaurant) = Injury at work?

43a, Location of Iniury (Number and Street, Zip Cade) 43b. Municipality 43c. County = State

Record 45. If Transportation Injury:
Contuins 44. Describe How Injury Occurred
Amendment
C] 46, Manner of Death 47. Did Decedent | 48. Did Tobacco Use | 40. If Femate, Pregnancy State
Have Diabetes? | Contribute to Death?
Ponding investigation Unknown Unknown Not applicable
| 50. Certifier Type 51, Name, Address, and Zip Code of Certifier
Allison Mautone, M.D.
Medical Exeminer 1400 Livingston Ave., North Brunswick, NJ 08902

62. Electronic Signature of Certifier §3. License Number 54. Date Certified (Ma/Day/¥4
? AlGison Mautone 25Ma09868000 0202/2020
f 56. Electronic Signature of Local Reglatrar 36. District No. 57. Date Received [Case 10 Number

te Nelie Sowell vi248 o210s/2020 2161379
DATE ISSUED: February 04, 2020
} ISSUED BY:
| New Jersey Department of Heaith, Office of Vital Statistics and Registry

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wil eee in US Armed Forcen? [? it You, Name of War. War Service Dates (FronvTo):

 

ey =
2 june) Status at Time of Death ‘a Name of Surviving Spouse/Pariner (Name given sf birth or on bith certificate)

 

11. Fathers Name (First, Middle, Lai)
Mamdouh Elalem

 

12. Mother's Namo Prior to First Marriage (First, Middle, Last)
|_Azzs Etalern

 

42a. Namo of Informant 13b. Relationship to Decedent
Ialam Elalem Sibling

‘13¢, Mailing Address (Street end Number, City, State, Zip Code)
144 High Street , Carteret, NJ 07008

14. Mathod of Disposition 18. Place of Disposition (name of cemetery, crematory, other)

 

18. Location- City & State/Foreign Country

 

Burial Mariboro Muslim Memortal

17. Name end Complete Address of Funeral Facility
Muulim Funeral Services of NY, 6121 2nd Ave, Brooklyn NY 11232

18. Electronic Signature of Funeral Director

Christine Ann Cuoco

Marlboro Township, New Jerezy

 

 

 

19. NJ License Number
23,)P00453800

 

 
 

 

20. Decedant Education
Bachelors degree (BA, AB, BS)

21. Decadent of Hispanic Ongin? 22. Decedent Race

 

 

Not Spanish / Hispanic / Latino Other Race: Egyptian

 

23. Occupation of Decadent (Type of work done most of ffe, even if retred) | 24. Kind of Business/industry
Enginoer Engineering

25. Name and Address of Last Employer

Picatinny Arsenal, US Mil Dept. of Defense, 213 NJ-15, Wharton, NJ 07885

 

26. Date Pronounced Dead (Ma/DayvY) 28. Name of Person Pronouncing Death

 

 

 

 

 

 

 

 

NOTE TIIGET OREO an TRU linn ena

 

 

 

 

 

 

 

02/02/2020 =
27. Tima Pronounced Dead (24-fi) ie License Number 30. Date Signed (MaDay/Yn
else : :
31. Date of Death (MoDeyw'vr 32. Time of Death (24-h7) 33, Was Medical Examiner Contacted? =| 34. Place of Death
02/02/2020 Approx-1142 Yes Decedent's Home
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34b. Municipality 35c. County
Carteret Borough Middlesex
. | 368. PART | - IMMEDIATE CAUSE - final disease or condition resulting in death. Subsequently liat conditions, it any, leading to
CAUSE OF DEATH: the cause listed on Line a. Enter the UNDERLYING CAUSE (di or injury that initiated the events resulting In death) LAST.
Immediate Cause Interval Between Onset and Death
a. unknown
Due to (or as a consequence off

 

 

 

 

 

 

 

 

  

 

 

 

 

 

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This is to certify that the above is correctly copied
from a record on file in my office.
Certified copy not valid uniess the raised Great
Seal of the State of New Jersey or the seal of the
issuing municipality or county, is affixed hereon.

“Vincent T. Arrisi 7
State Registrar
Office of Vital Statistics and Registry

 

 

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